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                                   STATEMENT OF FACTS

        Your affiant, Clay Chase, is a Special Agent with the Federal Bureau of Investigation.
Currently, I am a tasked with investigating criminal activity in and around the Capitol grounds that
occurred on January 6, 2021. As a special agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of
violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 8, 2021, a witness (W1) was interviewed by the FBI and provided a Facebook
live video they copied from SUBJECT 1’s Facebook page on January 6, 2021. W1 stated that they
personally knew SUBJECT 1 and identified him as WILLIAM POPE in the video. In the
Facebook video, WILLIAM POPE stated that he was marching to the Capitol, explained why he
was marching to the Capitol and introduced his brother, MICHAEL POPE (pictured in the first
video screen capture below).

        In the video, WILLIAM POPE panned the camera over to MICHAEL POPE and stated, “I
am here today with my brother Michael. He flew in from Idaho.” A second screen shot shows
MICHAEL POPE from the rear with a green backpack with a distinctive light-colored stripe in the
center of it (pictured in the second video screen capture below.)




       On January 8, 2021, a second witness (W2) was interviewed by the FBI and provided a
screen capture from MSNBC News that shows WILLIAM POPE in Statuary Hall of the U.S.
Capitol during the riot on January 6, 2021. Both W1 and W2 identified WILLIAM POPE as the
person walking in Statuary Hall as depicted on MSNBC news. A copy of one of the screenshots
provided by the witnesses is provided below, with WILLIAM POPE, as identified by the
witnesses, circled in blue.
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        On January 11, 2021, Sherman Smith published an article online in the Kansas Reflector
(www.kansasreflector.com) titled, “Kansas man who ran for Topeka City Council appears in video
of fatal shooting at U.S. Capitol.” The article included the image, provided below, of WILLIAM
POPE inside the Capitol, being restrained by a USCP Officer. The article indicated that the image
in the article was captured from a video publicly posted to Youtube.com. The article also accredits
the photograph to the same person who posted the video publicly available on Youtube.com.




       WILLIAM POPE was quoted in the article as sending the following text-message, “I’ve
reported myself to the FBI and remain loyal to the United States of America.” This appears to be
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a reference to a message WILLIAM POPE left on the FBI internet tip system to report criminal
activity connected to the January 6, 2021, riot. Specifically, on January 12, 2021, WILLIAM
POPE left the following message:

       “I would like to turn myself in. I was in the Capitol on January 6. I did not damage
       any property or engage in any violence. I am loyal to the United States and was
       only there to exercise my freedom of speech. I left the building voluntarily.”

WILLIAM POPE electronically submitted the following image of himself on January 6, 2021,
along with the above-described message to the tip line:




        On January 12, 2021, an FBI agent in Idaho received information that MICHAEL POPE
may live in Sandpoint, Idaho. Through open source search, the FBI determined that MICHAEL
POPE was issued an Idaho Driver’s License listing his current address in Sandpoint, Idaho and
provided his date of birth. Law enforcement identified a 2007 Toyota Tacoma, with Idaho license
plate **5D as registered to MICHAEL POPE. MICHAEL POPE was also shown to be a co-
registrant with R.P., believed to be his wife, for a 2012 Audi with Idaho license plate ***1250.

        On January 19, 2021, the FBI contacted Bonner County Sherriff’s Office, which covers the
area including MICHAEL POPE’s listed address. The sheriff’s office provided MICHAEL
POPE’S residence listed as the same address provided on his Idaho driver’s license and provided
a listed telephone number ***-***-8113. Photographs from open source searches of MICHAEL
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POPE appear consistent with the individual WILLIAM POPE identified as his brother in the video
posted to social media described above.

         On January 21, 2021, WILLIAM POPE provided a voluntary, non-custodial interview to
the FBI. WILLIAM POPE admitted to entering the U.S. Capitol building with his brother,
MICHAEL POPE, during the riot on January 6, 2021. WILLIAM POPE stated that he and
MICHAEL POPE stayed within several feet of each other all day on January 6, 2021, for their own
safety and so they didn’t get separated in the crowd. WILLIAM POPE stated that he posted the
video from his cellular phone to social media while marching to the U.S. Capitol building. This
is the same video that depicts his brother, MICHAEL POPE, marching with him.

        WILLIAM POPE further stated that he posted the video to social media from his cellular
phone shortly after they left the U.S. Capitol building. When asked why he went inside the U.S.
Capitol, rather than stay outside, WILLIAM POPE stated that their purpose for entering the
building was to express their concern about the direction of the nation. Specifically, WILLIAM
POPE explained that questionable things happened during the election and that citizens deserved
a full election audit. During the interview, WILLIAM POPE reported that they had witnessed
other rioters fighting and battering police officers and rioters damaging the U.S. Capitol Building.

        In the same interview, WILLIAM POPE stated that he planned this trip with his brother,
MICHAEL POPE, and MICHAEL POPE lives in the panhandle of Idaho. WILLIAM POPE stated
that he rented a car and drove from Topeka, Kansas, to Philadelphia, Pennsylvania. MICHAEL
POPE flew from Spokane, Washington (being the closest international airport near Sandpoint, ID) 1
to Philadelphia, Pennsylvania. WILLIAM POPE stated the two were going to make a vacation of
the trip and camp at several parks along the coast before MICHAEL POPE would fly back to
Spokane, Washington, from South Carolina. WILLIAM POPE admitted that after seeing the
gravity of the situation after January 6, 2021, he and MICHAEL POPE changed their plans and
wanted to return home as early as possible. WILLIAM POPE and MICHAEL POPE drove to
West Virginia, where the MICHAEL POPE unsuccessfully attempted to rent a car to drive back
home. Instead, MICHAEL POPE was able to arrange a flight out of Pittsburgh, Pennsylvania, so
WILLIAM POPE drove MICHAEL POPE to Pittsburgh and MICHAEL POPE then flew home.

        FBI obtained records from American Airlines documenting flights purchased by
MICHAEL POPE. The records showed that MICHAEL POPE, with the same date of birth and
additional contact information, including a phone number that matched the number provided by
the Bonner County Sheriff’s Office, had purchased tickets through Priceline.com on December 29,
2020. The first ticket was for flight number 2876 departing Spokane, Washington on January 5,
2021 at 6:00 a.m. PST, and flying to Phoenix, Arizona, with a connecting flight number 1796
departing Phoenix at 10:38 a.m. and going to Philadelphia, Pennsylvania. The status of this ticket
denoted “Used.” The second flight purchased by MICHAEL POPE departed Charleston, South
Carolina on January 9, 2021, and connected through Dallas/Fort Worth, Texas to Phoenix, where
it was then scheduled to arrive in Spokane, Washington later the same date. This return ticket was
shown as unused.



1
    There are other regional airports closer to Sandpoint, Idaho.
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        Due to the Idaho FBI agent’s experience in the region, he reported that there is one common
way to travel from Sandpoint, Idaho, to Spokane, Washington, which is: to travel South on U.S.
Highway 95 to Coeur d’Alene, Idaho; then take Interstate 90 in Coeur d’Alene and go West to
Spokane, Washington. From the Idaho FBI agent’s experience, it takes approximately 45 minutes
to drive from Sandpoint, Idaho to Coeur d’Alene, Idaho, and between 30 to 45 minutes to travel
from Coeur d’Alene, Idaho to the airport in Spokane, Washington, depending on traffic.
Sandpoint, Idaho is North of Coeur d’Alene, Idaho on U.S. Highway 95, and Coeur d’Alene, Idaho
is East of Spokane, Washington on Interstate 90.

        The Idaho FBI agent reviewed local Idaho law enforcement database containing data from
license plate readers (LPR) located around the Coeur d’Alene area for the timeframe of January 5,
2021, through January 9, 2021, for the two vehicles associated with MICHAEL POPE. The
cameras are set up primarily to monitor the traffic coming into the Coeur d’Alene area. There
were no returns for the Toyota Tacoma with Idaho license plate **5D. The Audi with Idaho license
plate ***1250 was identified to have traveled Southbound on U.S Highway 95 (from the direction
of Sandpoint) into Coeur d’Alene on January 4, 2021 at 5:34 p.m. PST. The same vehicle was
spotted driving Eastbound on Interstate 90 (from the direction of Spokane) into Coeur d’Alene on
January 5, 2021 at 5:15:19 p.m. PST.

        Due to MICHAEL POPE’s flight departing at 6:00 a.m. on January 5, 2021, the times of
the license plate reader hits are consistent with a person driving MICHAEL POPE to Spokane on
January 4, 2020, staying the night prior to an early morning flight, and then returning in the
direction of Sandpoint, Idaho later the same day.

        On January 22, 2021, the USCP Officer in the image from the article discussed above was
interviewed by the FBI. The USCP Officer stated that on January 6, 2021, he was inside the Senate
doors on the east side of the U.S. Capitol when he came into contact with WILLIAM POPE. The
USCP Officer remembered WILLIAM POPE due to his large size and his passive resistance to the
officer’s attempt to stop WILLIAM POPE from entering the U.S. Capitol. The USCP Officer also
reported that WILLIAM POPE was blocking law enforcement officers from closing the door as
law enforcement was working to prevent other rioters from entering. The USCP Officer stated
that he gave WILLIAM POPE repeated verbal orders to leave the building and attempted to
physically grab and push WILLIAM POPE from the building, but that WILLIAM POPE resisted
by tensing up and refusing to move.

        WILLIAM POPE has been identified on surveillance videos inside the U.S. Capitol on
January 6, 2021, including video showing WILLIAM POPE, and his brother MICHAEL POPE,
in the hallway outside the Speaker of the House’s offices. In the video, WILLIAM POPE appears
to strike one of the office doors several times with the bottom of his flag pole and then attempts to
force the door open by lunging into the door with his shoulder.

        On January 29, 2021, W1 positively identified WILLIAM POPE in the screen shot below
from inside the U.S. Capitol building, outside the Speaker of the House’s office. WILLIAM POPE
is marked with a blue circle. Also depicted in the photograph, marked with a red circle, is
MICHAEL POPE, wearing the same clothing as depicted in the video in which WILLIAM POPE
identifies him as his brother.
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        Additional videos obtained from surveillance cameras in the U.S. Capitol Building show
both WILLIAM POPE and MICHAEL POPE in different areas throughout the U.S. Capitol
Building. In particular, surveillance footage looking at the Senate Carriage Door and timestamped
at 2:00 p.m. on January 6, 2021, shows both WILLIAM POPE and MICHAEL POPE walking past
a Capitol Police Officer when the Police Officer is distracted, MICHAEL POPE enters an elevator
and goes off camera. WILLIAM POPE can be seen following MICHAEL POPE towards the
elevator a few moments later and attempts to enter the elevator. A police officer notices MICHAEL
POPE in the elevator and appears to be motioning him to exit the elevator. Based on the video, it
appears MICHAEL POPE initially refused to comply with the request, and two other police
officers then join the first officer and physically remove MICHAEL POPE from the elevator.
WILLIAM POPE and the MICHAEL POPE are observed walking down the hallway after
MICHAEL POPE was removed from the elevator. A still shot of the police officers removing
MICHAEL POPE from the elevator is shown below. MICHAEL POPE is circled in red and
WILLIAM POPE is circled in blue.
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       A third video from a surveillance camera is timestamped 2:20 p.m. on January 6, 2021.
The video shows WIILLIAM POPE and MICHAEL POPE coming down the stairs and exiting off
camera. A still shot of the video is shown below with WILLIAM POPE circled in blue and
MICHAEL POPE circled in red.




     Based on the foregoing, your affiant submits that there is probable cause to believe that
WILLIAM POPE and MICHAEL POPE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it
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a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that WILLIAM POPE and
MICHAEL POPE violated 40 U.S.C. § 5104(e)(2)(D), (E), & (G) which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; (E) obstruct, or impede passage through or
within, the Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings

        Your affiant submits there is probable cause to believe that WILLIAM POPE and
MICHAEL POPE violated 18 U.S.C. 231(a)(3), which, in pertinent part, makes it unlawful to
commit or attempt to commit any act to obstruct, impede, or interfere with any law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
the conduct or performance of any federally protected function. For purposes of Section 231 of
Title 18, a federally protected function means any function, operation, or action carried out, under
the laws of the United States, by any department, agency, or instrumentality of the United States
or by an officer or employee thereof. This includes the Joint Session of Congress where the Senate
and House count Electoral College votes. See 18 U.S.C. § 232(3). For purposes of Section 231 of
Title 18, civil disorder means any public disturbance involving acts of violence by assemblages of
three or more persons, which causes an immediate danger of or results in damage or injury to the
property or person of any other individual. See 18 U.S.C. § 232(1).

       Finally, your affiant submits there is probable cause to believe that WILLIAM POPE and
MICHAEL POPE violated 18 U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct,
influence, or impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515,
congressional proceedings are official proceedings. Under 18 U.S.C. § 1515(b), corruptly
means, in pertinent part, “acting with an improper purpose, personally or by influencing
another.”


                                                      _________________________________
                                                      Clay Chase
                                                      Federal Bureau of Investigation
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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 10th day of February 2021.
                                                                          2021.02.10
                                                                          12:55:18 -05'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
